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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,

v.                                           Case Nos. 4:09cr9/MCR/CAS
                                                       4:14cv240/MCR/CAS
LEONDRAY GIBSON,

                                       /

                                       ORDER

      This matter is before the Court on the Magistrate Judge’s Report and

Recommendation dated June 7, 2017. ECF No. 384. The parties have been furnished

a copy of the Report and Recommendation and have been afforded an opportunity to

file objections pursuant to Title 28, United States Code, Section 636(b)(1). Having

conducted the required de novo review of Petitioner’s objections, the Court finds that

the Report and Recommendation should be adopted. Petitioner’s first four grounds for

relief, as well as his first four objections to the Report & Recommendation, are without

merit because he did not establish the deficiency and prejudice required to successfully

assert an ineffective assistance of counsel claim. See Strickland v. Washington, 466

U.S. 668 (1984); Williams v. Allen, 598 F.3d 778, 788 (11th Cir. 2010). The Court

agrees with the Magistrate Judge’s conclusion that trial counsel’s performance cannot

be said to be deficient for the failure to make a legal argument which, at the time, had

it been made, would have had no legal support. See ECF No. 384 at 9-10 (collecting
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cases). With respect to Petitioner’s fifth ground for relief and objection, the Court finds

that Petitioner has failed to meet his burden of presenting any evidence, much less new

evidence, to support his assertion that five of the Government’s cooperating witnesses

fabricated their trial testimony against him. See Lynn v. U.S., 365 F.3d 1225, 1237

(11th Cir. 2004).

      Accordingly, it is ORDERED:

      1.     The Magistrate Judge’s Report and Recommendation, ECF No. 384, is
             ADOPTED and incorporated by reference in this Order.

      2.     Petitioner’s amended motion to vacate, set aside, or correct judgment and
             sentence, ECF No. 350, is DENIED.

      3.     Petitioner’s request for a certificate of appealability is DENIED.

      DONE and ORDERED this 21st day of September, 2017.


                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 CHIEF UNITED STATES DISTRICT JUDGE




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